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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                 (DULUTH DIVISION)

TRAVIS ZUMWALT,                                Case No. 0:19-cv-02194-PJS-LIB

              Plaintiff,
v.
                                               DEFENDANT’S MOTION TO
ADVANCED MARKETING &                           DISMISS FOR LACK OF PERSONAL
PROCESSING, INC. d/b/a PROTECT                 JURISDICTION AND FAILURE TO
MY CAR,                                        STATE A CAUSE OF ACTION

              Defendant.



       Defendant Advanced Marketing & Processing, Inc. d/b/a Protect My Car hereby

move this Court for an Order granting Defendant’s Motion to Dismiss. This motion is

based upon Federal Rule of Civil Procedure 12(b)(2), Defendant’s memorandum of law

in support of its motion and its supporting declaration and exhibits, which shall be filed in

accordance with D. Minn. L.R. 7.1, and all of the files, records and proceedings herein.


Dated: August 18, 2019                            /s/Amy J. Swedberg
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                                                  -AND-

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                                                  (Pro Hac Vice Application Pending)
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                                   Processing, Inc. d/b/a Protect My Car




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